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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Action No. 20-cr-00368-RM
UNITED STATES OF AMERICA,

Plaintiff,
Vv.

GEORGE SCOTT MckIM,

Defendant.

 

STIPULATION FOR ENTRY OF DEFERRAL OF PROSECUTION

1. For the purpose of allowing Defendant, George Scott McKim, to demonstrate
his good conduct and in consideration of his medical conditions and service to the
United States, the government hereby agrees to defer its prosecution of this case for a
period of three years, until December 10, 2023. During this time, Defendant agrees to

adhere to the terms and conditions below. If Defendant complies with these terms, the
government will move, at the completion of the period, to dismiss the charges in this
case with prejudice. If Defendant fails to comply with these terms, the government may

reinstitute its prosecution upon filing written notice with the Court and making a showing

by a preponderance of the evidence that Defendant has failed to comply.’

 

‘The parties agree that any such hearing would be a miscellaneous proceeding
under Fed. R. Evid. 1101(d)(3) and, therefore, the Rules of Evidence—except for those

on privilege—would not apply.
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2. Defendant recognizes that probable cause exists to support additional
charges beyond the one count alleged in the Information. Therefore, Defendant agrees
that if he does not comply with the terms and conditions below, he will not object to the
filing of additional criminal charges beyond the period of limitations and will waive any
right he may have, now or in the future, to challenge the timeliness of any such
additional charges, so long as such charges would have been timely when the
Information was filed in this case.

3. | Defendant agrees to comply with the following terms and conditions:
© Defendant will not violate another federal, state, or local law, excluding minor

traffic offenses. The phrase “minor traffic offenses” encompasses violations of the

Colorado Uniform Traffic Code, C.R.S. 42-4-101 et seq. and similar statutes or

regulations, so long as the offense does not involve (a) personal injury or death;

(b) operation of a motor vehicle while under the influence of or impaired by alcohol

or a controlled substance as defined under federal or state law; (c) operation of a

motor vehicle while his driver's license is suspended, cancelled, denied, or

revoked; or (d) reckless driving.

8 Defendant shall pay a total of $93,526.27 in restitution to the Department of
Veterans Affairs. Defendant agrees to pay $250 by the 15" of each month,
payable to the Clerk of United States District Court. Defendant can mail these
payments, which include Case No. 20-cr-00368-RM on the check, to the Clerk of
United States District Court, District of Colorado, Arraj Federal Courthouse, 901
19" Street, Denver CO 80294. Defendant can also make payments online at
www.pay.gov. Such restitution payments shall be in addition to any withholding
schedule the agency may, as an administrative matter, implement with regard to

Veterans Affairs benefits Defendant may be entitled to now or in the future.
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However, the total amount due to the Department of Veterans Affairs will not
exceed the sum of $93,526.27.

« Defendant will provide the U.S. Attorney's Office for the District of Colorado with
proof of compliance with these terms as well as any notice of change of address
or telephone number.

4. Defendant understands that, in accordance with 18 U.S.C. § 3161(h)(2)

(2018), if the Court accepts this stipulation for deferral of prosecution, the period of

delay outlined in this agreement will be excluded in computing the time within which the

trial of an offense related to this matter must commence.

Date: /2/o3/2022 aye ‘MED. “72
Georgé Scott McKim

Defendant

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Date: [2/02/2026 AAR)

Michael Becker
Attorney for Defendant

Date: 12/64/9.62 Hed T femesy

Mark Savoy
Attorney for Defendant

Date: ‘2/9 lao Wasa Ye Leach

Martha A. Paluch
Assistant U.S. Attorney

 
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ORDER

The Court hereby accepts this deferral of prosecution. The Court further finds that,

pursuant to 18 U.S.C. § 3161(h)(2), the period of delay outlined in this stipulation is
excluded in computing the time within which the trial of offenses relating to this matter
must commence. An Order Regarding Restitution in Deferred Prosecution Agreement,

directing the Clerk of Court to receive the restitution payments due in this case, issued

this same date.

DATED this day of , 2020.

BY THE COURT:

 

RAYMOND P. MOORE
United States District Court Judge
